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                                Exhibit C
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               COVID-19
Information for Inmates and Detainees
      The novel coronavirus, or COVID-19, is a respiratory illness that is easily
 transmissible through the air and on surfaces if prevention measures are not followed.
             We all need to do our part to keep our facility safe and healthy.

                                      SYMPTOMS OF COVID-19




                Fever                             Coughing                        Shortness of breath


                                 COVID-19 SPREADS THROUGH




           Close contact                          Coughing                      Touching a contaminated
           (about 6 feet)                        and sneezing                  surface and then touching
                                                                               your eyes, nose or mouth


                                    HOW TO PREVENT COVID-19

                                               KEEP 6 FEET DISTANCE


• Avoid close contact with people who are sick            • Wash your hands often with soap and water for
• Don’t touch your eyes, nose, or mouth                     at least 20 seconds, especially before eating, and
• Cover your cough or sneeze with a sleeve, not your        after going to the bathroom, blowing your nose,
  hand                                                      coughing, or sneezing

If you start to feel any of the symptoms listed, fill out a sick call request immediately. Alert a staff member if
you notice someone else looking unwell. Requests consistent with the symptoms of COVID-19 will be prioritized.
